                  THE THIRTEENTH COURT OF APPEALS

                                   13-16-00368-CV


                             KEITH WILEY
                                   v.
    HOLLYWOOD KINGLEY II, LLC; LIGHTHOUSE PROPERTY MANAGEMENT;
   TROPICANYON II, LLC; MARQUE AUSTIN COMMONS, LLC; OKUMO AUSTIN
                      COMMONS, LLC; QUEZ AUSTIN
             COMMONS, LLC; AND CAPSTONE REAL ESTATE


                                  On Appeal from the
                     201st District Court of Travis County, Texas
                        Trial Cause No. D-1-GN-14-002465


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the appeal should be dismissed.        The Court orders the appeal

DISMISSED in accordance with its opinion. Costs of the appeal are adjudged against

appellant.

      We further order this decision certified below for observance.

September 2, 2016
